
In re Century Indemnity Co. &amp; PEIC; Pacific Employers Insurance Company;— Defendants; Applying for Writ of Certio-rari and/or Review, Parish of Iberia, 16th Judicial District Court Div. G, Nos. 74,696, 78,778; to the Court of Appeal, Third Circuit, Nos. 01-0151-CA, 01-0152-CA.
Granted and remanded to the Court of Appeal for its consideration of relator’s prescription exception in light of Crump v. Sabine River Authority, 98-2326 (La.6/29/99), 737 So.2d 720. The law of the case does not control.
KIMBALL, J., would deny the writ.
KNOLL, J., would deny the writ.
